Case 1:14-cv-01489-RDM Document 14 Filed 11/24/14 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOSE LUCIO MIRANDA GOMEZ,
YANNIS MICHAEL MATUTE GUTIERREZ —— SS ee

ELVIN ADANAY GARCIA DE PAZ CIVIL ACTION NO. 14-cv-1489
Plaintiffs, (RDM)

v.
THAI CHEF, INC.,
CHAYIN SRIPRASERT,

&
YUPA PORN CHAROENTRA.

Defendants.

 

 

STIPULATION OF DISMISSAL

Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, Plaintiff Jose Lucio,
Miranda Gomez, Yannis Michael Matute Gutierrez, Elvin Adanay Garcia de Paz and Defendants
Thai Chef, Inc., Chayin Sriprasert, and Yupa Porn Charoentra, by and through their respective
counsel, stipulate that all claims set forth in the Complaint filed in the above-captioned matter
shall be DISMISSED WITH PREJUDICE, with each party bearing its own costs and attorneys’

fees.
Case 1:14-cv-01489-RDM Document 14 Filed 11/24/14 Page 2 of 3

  

7 By: bby {—

 

 

By:
Mie K. Amster B. Patrice Clair
BAC. Bar Number: 1001110 D.C. Bar Number 1004228
Zipin, Amster & Greenberg, LLC Dannie Fogleman
836 Bonifant Street D.C. Bar Number 41431]
Silver Spring, Maryland 20815 FordHarrison LLP
Telephone: 301-587-9373 1300 19" Street, N.W., Suite 300
Fax: 301-587-9373 Washington, DC 20036
mamster@zagfirm.com Tel: 202.719.2000
Counsel for Plaintiffs Fax: 202.719.2077

pcelair@fordharrison.com
dfogleman@fordharrison.com
Counsel for Thai Chef, Inc. and
Yupa Porn Charoenira

mS (ft

 

Scott Howard Rome
D.C. Bar No. 476677

THE VERITAS LAW FIRM
1225 19th Street, N.W., Suite 320
Washington, DC 20036
Telephone: (202) 686-7600
srome@theveritaslawfirm.com

Counsel for Defendant
Chayin Sriprasert
Case 1:14-cv-01489-RDM Document 14 Filed 11/24/14 Page 3 of 3

CERTIFICATE OF SERVICE
I hereby certify that, on this AY. th day of November, 2014, I caused a true and correct
copy of the foregoing STIPULATION OF DISMISSAL with the Court using the CM/ECF

system which will then send electronic notification of the filing to the following:

Michael K. Amster

Zipin, Amster & Greenberg, LLC
836 Bonifant Street

Silver Spring, MD 20910
Attorney for Plaintiffs

Scott Howard Rome

The Veritas Law Firm

1225 19th Street, N.W., Suite 320
Washington, DC 20036
Attorney for Defendant

Chavin Sriprasert

‘s/ B. Patrice Clair
B. Patrice Clair

WSACTIVELLP*7154694.1
